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      AZADIAN LAW GROUP, PC
 1    GEORGE S. AZADIAN (SBN 253342)
      EDRIK MEHRABI (SBN 299120)
 2    790 E. Colorado Blvd., 9th Floor
      Pasadena, California 91101
 3    Ph.: (626) 449-4944
      Fax: (626) 628-1722
 4    Email: George@azadianlawgroup.com
 5    Attorney for Plaintiff,
 6
        TINA REGANYAN

 7                        UNITED STATES DISTRICT COURT

 8                      CENTRAL DISTRICT OF CALIFORNIA

 9
      TINA REGANYAN, an individual            CASE NO. 15-cv-3981
10
                                 Plaintiff,   Hon. Consuelo B. Marshall
11
                  v.                          NOTICE OF SETTLEMENT
12
      CHASE BANK USA, N.A.,
13

14                              Defendant.

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                                     NOTICE OF SETTLEMENT
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 1          Pursuant to Local Rule 16-15.7, Plaintiff Tina Reganyan hereby submits this
 2    Notice of Settlement to notify they Court that the lawsuit has been settled and to
 3    request 35 days in which to file the dismissal.
 4

 5    Dated: November 24, 2015            Respectfully submitted,
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                                          AZADIAN LAW GROUP, PC
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 8                                    By: /s/ George S. Azadian
                                          George S. Azadian
 9                                         Attorney for Plaintiff TINA REGANYAN
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                                   NOTICE OF SETTLEMENT
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 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that on November 24, 2015, a copy of the foregoing
 3    NOTICE OF SETTLEMENT was filed electronically. Notice of this filing will
 4    be sent by email to all parties by operation of the court’s electronic filing system or
 5    by mail to anyone unable to accept electronic filing as indicated on the Notice of
 6    Electronic Filing. Parties may access this filing through the court’s EM/ECF
 7    System.
 8

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                                                               /s/ George S. Azadian
                                                                   George S. Azadian
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                                    NOTICE OF SETTLEMENT
